IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NORTH CAROLINA
SOUTHERN DIVISION
FILE NO. 7:23-CV-1625-M-RJ

BRIANA PAULL, individually;
BRIANA PAULL, as guardian of
A.P., A.P., R.K. Jr,

And A.F., her minor children;

And BRIANA PAULL, as class
representative on behalf of the class
defined herein,

Plaintiffs,
V.

THE TOWN OF HOLLY RIDGE;

HOLLY RIDGE HOUSING
AUTHORITY; THE PENDERGRAPH
COMPANIES, LLC; PENDERGRAPH
DEVELOPMENT, LLC; PENDERGRAPH
MANAGEMENT, LLC; FRANKIE W.
PENDERGRAPH;; and

JOHN DOE CONTRACTORS 1 through
10,

Defendants.

MOTION TO DISMISS AND
ALTERNATIVE MOTION FOR
JUDGMENT ON THE
PLEADINGS

NOW COMES the Town of Holly Ridge, North Carolina (the “Town”), by and through the

undersigned counsel of record, preserving all defenses and immunities, and respectfully moves

the Court for entry of an Order dismissing the claims made against it pursuant to Rules 12(b)(1)

and (6) and, alternatively, for Judgment on the pleadings pursuant to Rule 12(c) of the Federal

Rules of Civil Procedure. Plaintiffs’ claims are subject to dismissal for the following reasons,

among others:

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e Plaintiffs’ claims against the Holly Ridge Housing Authority (““HRHA”) should be
dismissed because the HRHA is dissolved and does not exist.

e Plaintiffs’ claims against the Town are barred by the doctrine of Governmental Immunity
and should be dismissed.

e Plaintiffs’ claims against the Town, contained in count VII of the purported First
Amended Class Action Complaint, should be dismissed because municipalities are
immune from punitive damage claims.

e Plaintiffs’ claims against the Town, contained in count II of the purported First Amended
Class Action Complaint, should be dismissed because municipalities are immune from
claims made under N.C.G.S. §75-1.1 et seq.

© The documents referenced in the Amended Complaint, including but not limited to the
contracts with Co-Defendant Pendergraph Management, LLC, establish that the Town is
not legally responsible for the conditions giving rise to the claims made by the Plaintiffs.

e Any and all claims made against the Town by certain purported class action Plaintiffs,
specifically including but not necessarily limited to Candace Wood, John Peterson,
Xalexus Cummings, Victoria Blystone, Amanda Riddle and April Denning, should be
dismissed as barred by their execution of the Lease Cancellation and Release Agreement
with the Town, and the acceptance of the good and valuable consideration referenced

therein.

The bases for these motions are explained in greater detail in the Memorandum of Law filed

with this Court.

WHEREFORE, based upon the foregoing, as well as all other matters that appear of Record
to this Court, the Defendant Town of Holly Ridge, North Carolina respectfully moves the Court
for an Order dismissing the Plaintiffs’ claims, or granting judgment on the pleadings, and

granting such other and further relief as is deemed just and proper.

This the 22d day of February, 2024.

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CROSSLEY McINTOSH COLLIER HANLEY & EDES, PLLC

_/s/ Clay Allen Collier

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CERTIFICATE OF SERVICE

I hereby certify that on February 22, 2024, I electronically filed the foregoing Motion to
Dismiss and Alternative Motion for Judgment on the Pleadings with the Clerk of Court using the
CM/ECF system, which will electronically serve the following counsel for the parties:

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Pendergraph Development, LLC and Frankie W. Pendergraph

/s/Clay Allen Collier

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